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                                                           Wednesday, 14 February, 2018 04:00:39 PM
                                                                       Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 )       Case No: 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
              Defendant.                  )

            THE UNITED STATES OF AMERICA’S RESPONSE TO THE
            DEFENDANT’S MOTION TO UNSEAL DOCKET ENTRY #32
                AND MOTION TO STRIKE DOCKET ENTRY #60

       NOW COMES the United States of America, by John E. Childress, United States

Attorney for the Central District of Illinois, and Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, and James B. Nelson, Trial Attorney with the

Department of Justice, pursuant to this Court’s order of February 8, 2018, and hereby

states that it has no objection to the defendant’s motion to unseal docket entry #32.

(R.61) Moreover, for many of the same reasons, the United States hereby requests that

the Court unseal docket entries #52 and #63 and the government’s response to the

defendant’s motion for recusal, and also strike Docket Entry #60, which was filed by the

defendant under seal, or in the alternative, unseal it and allow the United States to file a

response.




                                               
 
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                                        RELEVANT FACTS

        On November 7, 2017, this Court filed a document under seal to protect the

privacy of the author of the document. (R.32,52) The document did not have any impact

on any ruling of this Court. (R.52) On January 15, 2018, the defendant filed a motion

seeking access to the sealed document (R.37), which this Court granted on January 18,

2018. (R.52)

        On February 7, 2018, the defendant filed a motion to unseal docket entry #32.

(R.61) On that same date, the defendant filed a contemporaneous motion requesting

that this Court recuse itself (R.63) and requesting a trial date in June of 2019 (R.59). The

defendant’s trial scheduling request was supported by a document filed under seal by

the defendant. (R.60) The Court ordered the United States to respond to the defendant’s

motion to unseal and motion for recusal by February 15, 2018. The United States has

responded to the defendant’s motion for recusal in a separately filed response.1 It

hereby states that it is has no objection to the defendant’s motion to unseal docket

entry #32.

                                             RESPONSE

        In his motion to unseal, the defendant correctly notes that the public has a

general right of access to judicial records. The United States disagrees, however, with


                                                            
               1 The defendant filed its recusal motion under seal because docket entry # 32 was still

under seal. (R.62) Therefore, the United States is required to file its response to the sealed
recusal motion under seal. Nonetheless, because the United States does not object to the
defendant’s motion to unseal docket entry # 32, if appropriately redacted, the United States
requests that both the defendant’s motion for recusal and the government’s response be
unsealed as well.

                                                    2
 
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the defendant’s claim that the sealed document impacted issues presented to this Court

at the time it was filed. (Def.Mot.1) This claim directly contradicts this Court’s previous

finding that the document did not have any impact on any ruling. (R.52) The defendant

was well-aware that this Court had stated that the document did not impact any ruling

at the time the defendant made his contrary claim. Regardless, the United States has no

objection to the defendant’s motion to unseal docket entry #32, provided that, pursuant

to Rule 49.1(a) of the Federal Rules of Criminal Procedure and Local Rule 49.12(A),

appropriate redactions are made from the document to address privacy concerns,

including redacting any signatures and any home address or e-mail address of an

individual other than the city and state.

       Ironically, on the same date the defendant requested this Court to unseal docket

entry #32 and requested permission to file its recusal motion under seal, the defendant

also filed docket entry #60 under seal. The defendant does not appear to have requested

or received permission under Local Rule 49.9(A) to file docket entry #60 under seal, nor

did he assert a legal basis for filing docket entry #60 under seal.

       In fact, the United States submits that docket entry #60 should not have been

filed with the Court because it contains discussions that fall under Rule 11 of the

Federal Rules of Criminal Procedure. Rule 11 prohibits judicial involvement in plea

discussions. Fed. R. Crim. P. 11(c); see also United States v. Davila, 569 U.S. 597, 605

(2013). The defendant’s statements in docket entry #60 violate Rule 11’s prohibition

against involving the Court in plea discussions. Therefore, the United States requests

that the Court strike docket entry #60 from the record and not consider it.

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        Moreover, typically a defendant is offered protections against any use of plea

discussions and related statements under Rule 11(f) of the Federal Rules of Criminal

Procedure and Rule 410 of the Federal Rules of Evidence. Arguably, the defendant has

waived those protections by submitting docket entry #60. The United States submits,

however, that not all of the factual representations and characterizations set forth in

docket entry #60 are correct and further submits that the filing is misleading due to

various omissions. Such a situation is addressed in Rule 410(b)(1) of the Federal Rules of

Evidence: “The Court may admit a statement described in Rule 410(a)(3) or (4) in any

proceeding in which another statement made during the same plea or plea discussions

has been introduced, if in fairness the statements ought to be considered together.” In

fairness, if docket entry #60 is not stricken, then it should be unsealed and the United

States should be permitted to file a response thereto, setting forth relevant and omitted

statements made during the same plea discussions.2




                                                            
               2 The United States would note that it did not file a response to the defendant’s proposed

scheduling order (R.59) because the Court did not request one or grant the parties permission to
file responses. Nonetheless, the defendant filed a response to the scheduling order of the United
States. (R.65) Thus, if docket entry #60, which was filed in support of the defendant’s proposed
scheduling order, remains on the docket, the United States believes fairness dictates that it be
permitted to file a response to supplement the record.

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       WHEREFORE, the United States of America respectfully states that it has no

objection to the defendant’s request to unseal docket entry #32, or to unseal docket

entries #52 and #63 and the government’s response to the defendant’s motion for

recusal, and further requests that the Court strike docket entry #60, or in the alternative,

unseal it and permit the United States to file a response.

                                          Respectfully submitted,


                                          JOHN E. CHILDRESS
                                          UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2018, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to counsel of record.


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